Case 4:18-cv-00123 Document 273-10 Filed on 12/04/19 in TXSD Page 1 of 4




       EXHIBIT 10




                                                        Exhibit 10 at 000001
Case 4:18-cv-00123 Document 273-10 Filed on 12/04/19 in TXSD Page 2 of 4




                                                        Exhibit 10 at 000002
Case 4:18-cv-00123 Document 273-10 Filed on 12/04/19 in TXSD Page 3 of 4




                                                        Exhibit 10 at 000003
Case 4:18-cv-00123 Document 273-10 Filed on 12/04/19 in TXSD Page 4 of 4




                                                        Exhibit 10 at 000004
